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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,| Case No. 08-13141 (KIC)
Debtors. Jointly Administered
Hearing Date: April 25, 2011 at 1:00 p.m. ET
Objection Deadline: April 18, 2011 at 4:00 p.m. ET

NOTICE OF MOTION

TO: (i) the Office of the United States Trustee; (ii) counsel for the Official Committee of
Unsecured Creditors; (iii) the administrative agents for Tribune Company’s prepetition
loan facilities; (iv) the administrative agent for the Debtors’ post-petition loan facility;
(v} the Voting Parties and, where applicable, their counsel; and (vi) all parties having
requested notice pursuant to Bankruptcy Rule 2002

PLEASE TAKE NOTICE that, on April 7, 2011, the above-captioned debtors and
debtors in possession, filed the Debtors’ Motion Pursuant to 11 U.S.C. § 1126 and
Bankruptcy Rule 3018(a) for Entry of an Order Authorizing Changes in Votes on
Debtor/Committee/Lender Plan Previously Cast by (I) Longacre Opportunity Fund, L.P.
and Affiliates, (IT) ASM Capital, LLC and Affiliates, (11) Liquidity Solutions, Inc.,

(IV) Fair Harbor Capital, LLC, and (V) Debt Acquisition Company of America and
Affiliates, and Authorizing Voting Agent to Amend Voting Report to Reflect Changes (the

1 The Debtors in these chapter 1] cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc, (3167); ChicagoLand Microwave Licensee, inc, (1579);
Chicagoland Publishing Company (3237), Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc, (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940}; Gold Coast Publications, Inc, (5505); GreenCo, Inc, (7416), Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company IT, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035), KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324}; Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc, (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc, (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056), Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603), Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326}; TMLH 2, Inc. (0720); TMLS I, Inc. (0719), TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470), Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdeo, LLC (2534); Tribune Broadcasting News Network, Inc,, n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347), Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tnibune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc, (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279).
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tnbune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720): Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384); WCCT, Inc., fik’a WTXX
Inc. (1268), WCWN LLC (5982), WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191), The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
IHinois 60611.

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“Motion”) which seeks entry of an order authorizing the Voting Parties (as defined in the
Motion) to change their previously-cast votes to reject the Debtor/Committee/Lender Plan (as
defined in the Motion) to votes to accept the Debtor/Committee/Lender Plan and authorizing the
Voting Agent to prepare and file an amended voting report respecting the
Debtor/Committee/Lender Plan to reflect the vote changes.

You are required to file any response to the Motion on or before 4:00 p.m. (Prevailing
Eastern Time) on April 18, 2011.

At the same time, you must also serve a copy of any response upon movant’s attorneys, at
the address listed below, so that it is received by 4:00 p.m. (Prevailing Eastern Time) on

April 18, 2011:

SIDLEY AUSTIN LLP COLE, SCHOTZ, MEISEL,
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A HEARING ON THE MOTION WILL BE HELD ON APRIL 25, 2011 AT 1:00 P.M.
(PREVAILING EASTERN TIME) BEFORE THE HONORABLE KEVIN J. CAREY, CHIEF
UNITED STATES BANKRUPTCY JUDGE, UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5'" FLOOR,
COURTROOM NO. 5, WILMINGTON, DE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Date: April 7, 2011
SIDLEY AUSTIN LLP
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-and —

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ATTORNEYS FOR DEBTORS AND
DEBTORS IN POSSESSION

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